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  SCHEDULE
     A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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  SCHEDULE
      B
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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  SCHEDULE
     C
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                                  SCHEDULE C

                               LEGAL DESCRIPTION

                                Starr County, Texas

Tract: RGV-RGC-9000
Owner: Ociel Mendoza, et al.
Acreage: 2.574
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                         SCHEDULE C (Cont.)
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  SCHEDULE
      D
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                            SCHEDULE D

                             MAP or PLAT

                      LAND TO BE CONDEMNED
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                         SCHEDULE D (Cont.)
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                               SCHEDULE D (Cont.)




Tract: RGV-RGC-9000
Owner: Ociel Mendoza, et al.
Acreage: 2.574
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    SCHEDULE
        E
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                                      SCHEDULE E

                                    ESTATE TAKEN

                                    Starr County, Texas

Tract: RGV-RGC-9000
Owner: Ociel Mendoza, et al.
Acreage: 2.574

       The estate acquired is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to the mineral interests of
third parties; excepting and reserving to the Grantor all interests in minerals and
appurtenant rights for the exploration, development, production and removal of said
minerals;

       Reserving to the owners of the lands identified in the following Warranty Deed
with Vendor’s Lien Document No. 2009-286148, Official Records of Star County
(O.R.S.C.) reasonable access to and from the owners’ lands lying between the Rio Grande
River and the border barrier through opening(s) or gate(s) in the border barrier between the
westernmost mark labeled “Beginning” and easternmost mark labeled “Ending” depicted
on the map below;

       Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation and maintenance of
the border barrier.
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                         SCHEDULE E (Cont.)
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    SCHEDULE
        F
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                                    SCHEDULE F

                       ESTIMATE OF JUST COMPENSATION



    The sum estimated as just compensation for the land being taken is NINETY THREE

THOUSAND, TWO HUNDRED AND SIXTY ONE DOLLARS NO/100 ($93,261.00), to

be deposited herewith in the Registry of the Court for the use and benefit of the persons

entitled thereto.
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     SCHEDULE
        G
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                                     SCHEDULE G

                                  INTERESTED PARTIES

The following table identifies all persons who have or claim an interest in the property
condemned and whose names are now known, indicating the nature of each person’s
property interest(s) as indicated by references in the public records and any other
information available to the United States. See Fed. R. Civ. P. 71.1(c).

 Interested Party                             Reference
 Ociel Mendoza                                RGV-RGC-9000
 5541 East Highway 83                         Warranty Deed with Vendor’s Lien,
 Rio Grande City, Texas 78582                 Document #2009-286148;
                                              Recorded September 29, 2009,
                                              Deed Records of Starr County.

 Martha N. Mendoza                            RGV-RGC-9000
 5562 Santa Maria Avenue                      Warranty Deed with Vendor’s Lien,
 Rio Grande City, Texas 78582                 Document #2009-286148;
                                              Recorded September 29, 2009,
                                              Deed Records of Starr County.

 Department of the Treasury - Internal        Federal Tax Lien,
 Revenue Service                              Document # 2019-352019;
 5450 Stratum Drive, Suite 150                Recorded September 19, 2019,
 Fort Worth, Texas 76137                      Deed Records of Starr County.

 Lone Star National Bank                      Deed Of Trust,
 S. David Deanda, Jr. (Trustee)               Document # 2012-305661;
 520 East Nolana Avenue                       Recorded June 29, 2012,
 McAllen, Texas 78504                         Deed Records of Starr County.

 International Bank of Commerce               Deed Of Trust,
 A. Boyd Carter (Trustee)                     Document #2009-286149;
 US Hwy 83 10th Avenue                        Recorded September 29, 2009,
 Zapata, Texas 78076                          Deed Records of Starr County.

 Ameida Salinas                               Tax Authority
 Starr County Tax Assessor-Collector
 100 N. FM 3167, Room 201
 Rio Grande City, Texas 78582
